     Case 3:18-cv-02877-AJB-MSB Document 36 Filed 09/10/19 PageID.2775 Page 1 of 1

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8                                UNITED STATES DISTRICT COURT
9                               SOUTHERN DISTRICT OF CALIFORNIA
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11    KATHRYN KAILIKOLE,                                 Case No.: 18cv2877-AJB(MSB)
12                                      Plaintiff,
                                                         ORDER SETTING TELEPHONIC CASE
13    v.                                                 MANAGEMENT CONFERENCE
14    PALOMAR COMMUNITY COLLEGE
      DISTRICT, et al.,
15
                                    Defendants.
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18          A telephonic Case Management Conference was held on September 10, 2019.
19    Pursuant to the discussions during the conference, the Court sets a telephonic Case
20    Management Conference for December 11, 2019, at 9:15 a.m. Plaintiff’s counsel is to
21    arrange and initiate the conference call. The telephone number for Judge Berg’s
22    chambers is (619) 557-6632.
23          IT IS SO ORDERED.
24    Dated: September 10, 2019
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                                                                                 18cv2877-AJB(MSB)
